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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

 MARY B. WITTROCK DILLMAN,                         CV 14-123-M-DLC-JCL
                      Plaintiffs,
                                                  ORDER, and FINDINGS
        vs.                                      AND RECOMMENDATION
 UNITED STATES DEPARTMENT OF
 EDUCATION, FEDERAL STUDENT
 AID, and GC SERVICES,

                      Defendants.


I.    INTRODUCTION

      Plaintiff Mary Wittrock Dillman, proceeding pro se, filed a Motion to

Proceed In Forma Pauperis. Dillman submitted a declaration that makes the

showing required by 28 U.S.C. § 1915(a). Because it appears she lacks sufficient

funds to prosecute this action IT IS HEREBY ORDERED that her Motion to

Proceed In Forma Pauperis is GRANTED. This action may proceed without

prepayment of the filing fee, and the Clerk of Court is directed to file Dillman’s

lodged Complaint as of the filing date of her motion to proceed in forma pauperis.

      The federal statute under which leave to proceed in forma pauperis is

permitted — 28 U.S.C. § 1915 — also requires the Court to conduct a preliminary


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screening of the allegations set forth in the litigant’s pleading. The applicable

provisions of section 1915(e)(2) state as follows:

      (2) Notwithstanding any filing fee, or any portion thereof, that may have
      been paid, the court shall dismiss the case at any time if the court determines
      that–

             (A) the allegation of poverty is untrue; or

             (B) the action or appeal–

                   (i) is frivolous or malicious;

                   (ii) fails to state a claim on which relief may be granted; or

                   (iii) seeks monetary relief against a defendant who is immune
                   from such relief.

28 U.S.C. § 1915(e)(2).

      Thus, the Court will review Dillman’s pleading to consider whether this

action can survive dismissal under the provisions of section 1915(e)(2), or any

other provision of law. See Huftile v. Miccio-Fonseca, 410 F.3d 1136, 1138, 1142

(9th Cir. 2005).

II.   PLAINTIFF’S ALLEGATIONS

      Dillman commenced this action seeking relief under the Americans with

Disabilities Act at 42 U.S.C. § 12132. Dillman states she submitted a Loan

Discharge Application in 2013 to the United States Department of Education


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requesting a discharge of her student loan. In support of her application she

checked a box on the form apparently indicating she is disqualified from

employment due to a “physical condition.” (Doc. 2 at 2.) She states that she

provided documentation of her physical limitations, but that documentation dated

back to 2003. (Doc. 2 at 7.) Dillman alleges she received a response from the

Department of Education denying her discharge application on several grounds,

including her “failure to provide documentation demonstrating a condition that

would bar employment in [her] field of study[.]” (Doc. 2 at 2.)

         Dillman alleges Defendants are liable for violating the Americans with

Disabilities Act. She quotes the provisions of 42 U.S.C. § 12132 which prohibit a

public entity from denying a disabled person the benefits of the public entity’s

program by reason of the person’s disability. For her relief, Dillman requests the

Court refund certain funds to her, award her damages or discharge her student

loan, award her costs and fees she has incurred, and any attorney fees she may

incur.

III.     DISCUSSION

         Because Dillman is proceeding pro se the Court must construe her pleading

liberally, and the pleading is held “to less stringent standards than formal

pleadings drafted by lawyers[.]” Haines v. Kerner, 404 U.S. 519, 520 (1972). See

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also Neitzke v. Williams, 490 U.S. 319, 330 n.9 (1989). Although the Court has

authority to dismiss a defective pleading pursuant to 28 U.S.C. § 1915(e)(2),

      a district court should grant leave to amend even if no request to amend the
      pleading was made, unless it determines that the pleading could not possibly
      be cured by the allegation of other facts.

Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000) (quoting Doe v. United States,

58 F.3d 494, 497 (9th Cir. 1995)).

      Title II of the Americans with Disabilities Act (ADA) at 42 U.S.C. § 12132

provides as follows:

      Subject to the provisions of this subchapter, no qualified individual with a
      disability shall, by reason of such disability, be excluded from participation
      in or be denied the benefits of the services, programs, or activities of a
      public entity, or be subjected to discrimination by any such entity.

42 U.S.C. § 12132. To present a viable claim for relief under section 12132, a

plaintiff must present factual allegations satisfying the four required elements of a

claim under the statute:

      (1) [the plaintiff] “is an individual with a disability;” (2) [the plaintiff] “is
      otherwise qualified to participate in or receive the benefit of some public
      entity's services, programs, or activities;” (3) [the plaintiff] “was either
      excluded from participation in or denied the benefits of the public entity's
      services, programs, or activities, or was otherwise discriminated against by
      the public entity;” and (4) “such exclusion, denial of benefits, or
      discrimination was by reason of [the plaintiff’s] disability.”

McGary v. City of Portland, 386 F.3d 1259, 1265 (9th Cir. 2004).



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      The factual allegations of Dillman’s complaint defeat her claim under the

ADA. Dillman asserts she is disabled and is disqualified from employment due to

a “physical condition.” But Dillman also alleges the Department of Education did

not exclude her from the loan discharge program “by reason of [any] disability”

she may have. To the contrary, she alleges it denied her Loan Discharge

Application, in part, on the ground that Dillman had failed to establish she is

disabled and is disqualified from employment in her field of training. Her factual

allegations suggest it is plausible that the Department of Education may have

found that the stale, 10-year old documentation of her physical limitations was

insufficient to demonstrate a present physical disability. Thus, Dillman’s

allegations establish that the Department of Education denied her loan discharge

application because it did not find she is disabled, not because she is disabled.

Dillman’s allegations negate the fourth element of a viable ADA claim.

      Therefore, Dillman’s complaint is subject to dismissal under 28 U.S.C. §

1915(e)(2)(B)(ii) for failure to state a claim upon which relief could be granted.

And under the circumstances of Dillman’s allegations, the Court determines that

her pleading could not possibly be cured by the allegation of additional facts.

IV.   CONCLUSION

      Based on the forgoing, IT IS RECOMMENDED that Dillman’s complaint

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be DISMISSED.

    DATED this 22nd day of July, 2014.



                                         Jeremiah C. Lynch
                                         United States Magistrate Judge




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